                        IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


VERNA STEVERSON and DAVIS          )
STEVERSON,                         )
                                   )
          Plaintiffs,              )
                                   )
VS.                                )                        No. 3:19-cv-00140
                                   )                        Jury Trial Demanded
WALMART, CMI CLAIMS MANAGEMENT, )                           District Judge Crenshaw
CINCINNATI INSURANCE COMPANY, GE )                          Magistrate Judge Newbern
APPLIANCES, OZARK ELECTRONICS, and )
GREE MANUFACTURING COMPANY,        )
                                   )
          Defendants.              )

    ANSWER OF DEFENDANTS WALMART AND CMI CLAIMS MANAGEMENT

                                FIRST AFFIRMATIVE DEFENSE

        Under the doctrine of comparative fault, Plaintiffs’ claims should be barred or reduced by

any fault attributed to Plaintiffs by the jury.

                              SECOND AFFIRMATIVE DEFENSE

        To the extent this accident was the fault of Defendant Cincinnati Insurance Company,

Plaintiffs' claims against Defendants Walmart and CMI Claims Management should be barred or

reduced by any fault attributed to Defendant Cincinnati Insurance Company.

                               THIRD AFFIRMATIVE DEFENSE

        To the extent this accident was the fault of Defendant GE Appliances, Plaintiffs' claims

against Defendants Walmart and CMI Claims Management should be barred or reduced by any

fault attributed to Defendant GE Appliances.

                                  FOURTH AFFIRMATIVE DEFENSE




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       To the extent this accident was the fault of Defendant Ozark Electronics, Plaintiffs' claims

against Defendants Walmart and CMI Claims Management should be barred or reduced by any

fault attributed to Defendant Ozark Electronics.

                                 FIFTH AFFIRMATIVE DEFENSE

       To the extent this accident was the fault of Defendant Gree Manufacturing Company,

Plaintiffs' claims against Defendants Walmart and CMI Claims Management should be barred or

reduced by any fault attributed to Defendant Gree Manufacturing Company.

                                 SIXTH AFFIRMATIVE DEFENSE

       To the extent this accident was the fault of “plaintiff’s own professionals” who “installed

professionally” the “air conditioning unit,” Plaintiffs' claims against Defendants Walmart and CMI

Claims Management should be barred or reduced by any fault attributed to such persons. See

Complaint, Section III.

                               SEVENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ personal injury claims are barred by the statute of limitations. See Tenn. Code

Ann. §§ 29-28-103, 28-3-104.

                                EIGHTH AFFIRMATIVE DEFENSE

       Plaintiffs’ real or personal property claims are barred by the statute of limitations. See

Tenn. Code Ann. §§ 29-28-103, 28-3-105.

                                 NINTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred by the statute of repose. See Tenn. Code Ann. § 29-28-103.

                                 TENTH AFFIRMATIVE DEFENSE

       Plaintiffs' complaint fails to state a claim upon which relief can be granted. Under Tenn.

Code Ann. § 29-28-105, the seller of a product shall not be liable for any injury to a person or



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property caused by the product unless the product is determined to be in a defective condition or

to be unreasonably dangerous at the time it left the seller's control.

                            ELEVENTH AFFIRMATIVE DEFENSE

       Plaintiffs' complaint fails to state a claim upon which relief can be granted. Under Tenn.

Code Ann. § 29-28-106, no product liability action shall be commenced against the seller unless:

(1) “[t]he seller exercised substantial control over that aspect of the design, testing, manufacture,

packaging or labeling of the product that caused the alleged harm for which recovery of damages

is sought,” (2) the seller “altered or modified the product, and the alteration or modification was

a substantial factor in causing the harm for which recovery or damages is sought,” (3) “[t]he

seller gave an express warranty as defined by title 47, chapter 2,” (4) “[t]he manufacturer or

distributor of the product or part in question is not subject to service of process in this state and

the long-arm statutes of Tennessee do not serve as the basis for obtaining service of process,” or

(5) “[t]he manufacturer has been judicially declared insolvent.”

                            TWELFTH AFFIRMATIVE DEFENSE

       Under Tenn. Code Ann. § 29-28-108, Plaintiffs’ claims should be barred to the extent

discovery reveals that the product “was made unreasonably dangerous by subsequent

unforeseeable alteration, change, improper maintenance or abnormal use.”

                              THIRTEENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ complaint fails to state a claim upon which relief can be granted. Plaintiffs’

complaint does not contain any factual assertions as to Defendant CMI Claims Management.

       Answering the numbered sections and paragraphs of the complaint, Defendant

Walmart and Defendant CMI Claims Management respond as follows:

       I.      A.      Admitted upon information and belief.



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               B.      As to Defendant No. 1, the information provided for Defendant Walmart is

denied as phrased. Defendant Walmart’s principal place of business is 702 SW 8th Street,

Bentonville, AR 72716-6209. As to Defendant No. 2, the information provided for Defendant

CMI is denied as phrased. Defendant CMI’s principal place of business is 702 SW 8th Street,

Bentonville, AR 72716-6209. As to Defendant No. 3, the information provided for Defendant

“Cincinitti Insc Co.” (sic) is admitted upon information and belief. As to Defendant No. 4, the

information provided for Defendant GE Appliances is admitted upon information and belief. As

to Defendant No. 5, the information provided for Defendant Ozark Electronics is admitted upon

information and belief. As to Defendant No. 6, the information provided for Defendant Gree

Manufacturing Co. is admitted upon information and belief.

       II.     It is admitted that the basis for federal court jurisdiction is diversity of citizenship.

               A.      No assertions are made by Plaintiffs, so no response is required by

Defendant Walmart or Defendant CMI and no response is given.

               B.      1.      a.      Admitted upon information and belief.

                               b.      It is denied that Walmart is a plaintiff in this matter. It is

also denied that Walmart is incorporated under the laws of the State of Arkansas. Walmart, Inc.

is a Delaware corporation. It is admitted that Walmart has a principal place of business in the State

of Arkansas.

                       2.      a.      No assertions are made by Plaintiffs, so no response is

required by Defendant Walmart or Defendant CMI and no response is given.

                               b.      It is denied that Walmart is incorporated under the laws of

the State of Arkansas. Walmart, Inc. is a Delaware corporation. It is admitted that Walmart has a

principal place of business in the State of Arkansas.



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                       3.      Plaintiffs are not entitled to the amount in controversy stated or to

any amount.

               III.    Defendant Walmart and Defendant CMI lack knowledge or information

sufficient to form a belief about the truth of any of the allegations made by Plaintiffs in Section III

of Plaintiffs’ complaint.

               IV.     Plaintiffs are not entitled to the relief demanded or to any relief.

               V.      A.      No response is required by Defendant Walmart or Defendant CMI

and no response is given.

                       B.      No response is required by Defendant Walmart or Defendant CMI

and no response is given.

       DEFENDANT WALMART AND DEFENDANT CMI DEMAND A JURY OF THE

MAXIMUM NUMBER ALLOWED BY LAW.



                                                       s/ Elle G. Kern
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                                                       Defendant CMI




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                                         Certificate of Service

        I certify that on this the 19th day of February, 2019, a copy of the foregoing was electronically
filed with the Court. Notice of this filing will be sent by operation of the court’s electronic filing
system to all parties indicated on the electronic filing receipt. All other parties will be served by regular
U. S. Mail.

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                                                          s/ Elle G. Kern




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